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      Toxic Substances Control and the Toxic Substances
 11   Control Account
 12                     IN THE UNITED STATES DISTRICT COURT
 13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14                               WESTERN DIVISION
 15

 16
      CALIFORNIA DEPARTMENT OF                   No. 2:20-cv-11293-SVW-JPRx
 17   TOXIC SUBSTANCES CONTROL
      and the TOXIC SUBSTANCES
 18   CONTROL ACCOUNT,
                                                 PLAINTIFFS’ TRIAL BRIEF
 19                                Plaintiffs,
 20               v.
                                                 Courtroom:      10A
 21                                              Judge:          Stephen V. Wilson
      NL INDUSTRIES, INC., et al.,               Action Filed:   December 14, 2020
 22
                                 Defendants. Trial Date:         May 11, 2022
 23                                          Time:               9:00 a.m.
 24

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  1                                     INTRODUCTION
  2         The Court set trial to determine the geographic extent of lead contamination
  3   from the former secondary lead smelter located in Vernon, California1 (“Vernon
  4   Plant”) – i.e., the “compensable cleanup area.” ECF 231. However, proving such a
  5   determination is not the Plaintiffs’ burden under CERCLA. Rather, Plaintiffs only
  6   need show a “plausible migration pathway” by which lead released from the
  7   Vernon Plant could have traveled to the residential areas where Plaintiffs
  8   investigated and cleaned up lead. Once Plaintiffs make such a showing,
  9   Defendants2 have the burden to show that none of the lead cleaned up came from
 10   the Plant. Defendants will be unable to meet this burden because, as Plaintiffs will
 11   show, the strength and direction of prevailing wind currents more than plausibly
 12   carried the lead emitted from over nearly ninety years of Vernon Plant operations as
 13   far as two miles away.
 14   I.   PLAINTIFFS WILL MEET THEIR BURDEN UNDER CERCLA.
 15         Plaintiffs’ burden under the Comprehensive Environmental Response,
 16   Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9601, et seq., is low.
 17   To establish Defendants’ liability under Section 107(a) of CERCLA, 42 U.S.C.
 18   § 9607(a), Plaintiffs need only demonstrate that: (1) the site is a “facility”;3 (2) a
 19         1
             The Vernon Plant is a former secondary smelter located at 2700 and 2717
 20   South Indiana Street, 3900 East 26th Street, and 3841 and 3901 Bandini Boulevard
      in Vernon, California 90058, identified by Assessor’s Parcel Numbers 5243-021-
 21
      024, 5243-022-007, 5243-022,009, 5243-022-010, and 5192-030-009.
 22         2
              Defendants in this action are NL Industries Inc., Gould Electronics Inc.,
 23   Kinsbursky Bros. Supply Inc., Trojan Battery Company, LLC, Ramcar Batteries,
      Inc., Clarios, LLC, Quemetco, Inc., and International Metals Ekco, Ltd., and
 24   Oregon Tool Inc. (fka Blount, Inc.) (collectively, “Defendants”).
 25         3
               CERCLA defines “facility” broadly to mean “any building, structure . . .”
 26   or to include “any site or area where a hazardous substance has been deposited,
      stored, disposed of, or placed, or otherwise come to be located.” 42 U.S.C. §
 27   9601(9)(A)–(B). “The expansiveness of this definition is well recognized.” Nw.
                                                                             (continued…)
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  1   “release” or “threatened release” of a “hazardous substance” from the facility has
  2   occurred; (3) the release or threatened release has caused the State to incur
  3   “response costs”; and (4) Defendants fall within at least one of the four classes of
  4   liable parties described in Section 107(a). United States v. Sterling Centrecorp Inc.,
  5   977 F.3d 750, 756 (9th Cir. 2020).4 Relevant to the “compensable cleanup area,”
  6   Plaintiffs only burden at this trial is the third element of CERCLA, to show the
  7   release or threatened release caused DTSC to incur “response costs.” 42 U.S.C.
  8   § 9607(a); Cose v. Getty Oil Co., 4 F.3d 700, 703–04 (9th Cir. 1993).
  9         Plaintiffs’ burden under the third element is low because Congress
 10   “purposefully lowered the liability bar” under CERCLA and adopted a “relaxed
 11   liability standard.” See Niagara Mohawk Power Corp. v. Chevron U.S.A., Inc., 596
 12   F.3d 112, 130 (2d Cir. 2010). “In evaluating whether this element of a CERCLA
 13   claim has been proved, courts do not apply traditional tort notions of causation.”
 14   Carson Harbor Vill., Ltd. v. Unocal Corp.¸ 287 F. Supp. 2d 1118, 1186 (C.D. Cal.
 15   2003) (collecting decisions). “The language of the statute requires that plaintiff
 16   establish a causal link between the release for which defendant is responsible, and
 17

 18
      Mut. Life Ins. Co. v. Atl. Research Corp., 847 F. Supp. 389, 395 (E.D. Va. 1994);
 19
      see 3550 Stevens Creek Assoc. v. Barclays Bank of Cal., 915 F.2d 1355, 1360, n.10
 20   (9th Cir. 1990). It is undisputed that the Vernon Plant is a building or structure from
      which there has been a release. 42 U.S.C. § 9607(a)(4).
 21
            4
               Under the third element, a plaintiff seeking to recover response costs
 22
      usually must show that the expenditure of response costs is consistent with the
 23   National Contingency Plan (“NCP”), a set of regulations that hold “the
      organizational structure and procedures for preparing for and responding to . . .
 24
      releases of hazardous substances.” See Wash. State Dep’t of Transp. v. Pacificorp,
 25   59 F.3d 793, 799 (9th Cir. 1995) (quoting 40 C.F.R. § 300.1). Plaintiffs need not
      make such a showing because they are state agencies that are entitled a presumption
 26
      that their response costs are consistent with the NCP. See Sterling Centrecorp Inc.,
 27   977 F.3d at 759. In any case, NCP-related issues will not be addressed at the April
      trial and are reserved for a later stage.
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  1   the response costs incurred by plaintiff. . . . The nexus that must be shown, however,
  2   is a loose one.” Id. (citations omitted) (emphasis added).
  3         Plaintiffs can meet their burden of establishing a “nexus” between the
  4   Vernon Plant’s releases and Plaintiff Department of Toxic Substances Control’s
  5   (“DTSC”) response actions if they: (a) identify the contaminant at a site; (b)
  6   identify the same (or perhaps a chemically similar) contaminant off-site; and (c)
  7   provide evidence of a plausible migration pathway by which the contaminant could
  8   have traveled from a site to the off-site locations. Castaic Lake Water Agency v.
  9   Whittaker Corp., 272 F. Supp. 2d 1053, 1065–66 (C.D. Cal. 2003).5 At trial,
 10   Plaintiffs will present evidence showing a “plausible migration pathway” by which
 11   lead released from the Vernon Plant could have traveled to properties within the
 12   approximately 1.7-mile radius area that DTSC refers to as the “Preliminary
 13   Investigation Area” (“PIA”) where it has investigated soil lead contamination and
 14   remediated thousands of properties. Put simply, Plaintiffs do not need to prove
 15   whether lead from the Vernon Plant actually reached the properties within the PIA.
 16   Below is a diagram of the PIA with the Vernon Plant in the center6:
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              Numerous district courts in the Ninth Circuit have followed this “plausible
      migration pathway” standard. E.g., Santa Clarita Valley Water Agency v. Whittaker
 23   Corp., No. 2:18-CV-06825-SB-RAOx, 2021 WL 2549066, at *2 (C.D. Cal. Apr. 5,
 24   2021); Tesoro Ref. & Mktg. Co. v. City of Long Beach, No. 2:16-cv-06963-VAP-
      FFMx, 2018 WL 11348067, at *3 (C.D. Cal. Nov. 21, 2018).
 25         6
               Diagram Source:
 26   https://dtsc.maps.arcgis.com/apps/webappviewer/index.html?id=d8a6b586685f46f7
 27
      93e39759c71be3ef&utm_source=From_Exide_Soil_Sampling_Page&utm_medium
      =Map_Image&utm_campaign=Exide_PIA_Soil_Sampling
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 16         Here, it is uncontested that the Vernon Plant released airborne lead
 17   emissions. It is also uncontested that soil lead contamination has been found
 18   throughout the PIA. It is uncontested that DTSC and its contractors undertook
 19   significant efforts to sample for and clean up lead contamination in soil, principally
 20   in the PIA. A map depicting many sample locations, with the Vernon Plant at the
 21   center of the PIA, is provided below for reference:
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                                                                           Plaintiffs’ Trial Brief
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 16   Additional samples not contained on the above map were taken to the north and
 17   northeast of the PIA. A map depicting cleanup locations within the PIA also is
 18   provided below:
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 15         Plaintiffs will meet their burden to show a loose causal nexus by showing a
 16   plausible migration pathway, see Carson Harbor Vill., Ltd., 287 F. Supp. 3d at
 17   1186, between the Plant’s emissions and DTSC’s response actions in the PIA.
 18   Plaintiffs will show that such pathway is the air and associated wind patterns
 19   between the Plant and the PIA. Plaintiffs will also show that Defendants cannot
 20   meet their burden to show that none of the lead actually got to the PIA because,
 21   through a range of evidence, Plaintiffs will show that lead emitted from the Plant
 22   traveled in the air, carried by prevailing wind currents, and was deposited in the soil
 23   in the PIA. Plaintiffs’ evidence will include Dr. Allen J. Medine’s testimony
 24   (further supported by Mr. Lyle Chinkin and other rebuttal experts) that the lead air
 25   emissions released from the Vernon Plant over approximately ninety years actually
 26   reached properties in the PIA.
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  1          Specifically, Plaintiffs will show:
  2          •     Lead emitted from the Vernon Plant could have traveled, and
  3                did travel, in the air along the prevailing wind directions to land
  4                in soils at least as far as the outer boundaries of the PIA.
  5          •     Directional, geospatial, ratios, statistical, and speciation analyses
  6                support a pattern that demonstrates lead within the PIA is
  7                directly attributable to the Vernon Plant’s emissions.
  8          •     Smelter lead can be identified as a source in the soil extending
  9                throughout the 1.7-mile PIA surrounding the Vernon Plant.
 10          •     Lead from gasoline, paint, pesticides, and other industrial
 11                sources cannot account for the high concentration of lead found
 12                in the PIA.
 13   II.   DEFENDANTS CANNOT SUCCEED WHEN THE BURDEN SHIFTS.
 14          Once Plaintiffs meet their burden under CERCLA to show a plausible
 15   migration pathway, “the burden of proof falls on the defendant to disprove
 16   causation.” Tesoro Ref. & Mktg. Co., 2018 WL 11348067, at *3 (quoting Westfarm
 17   Assocs. Ltd. P’ship v. Wash. Suburban Sanitary Comm’n, 66 F.3d 669, 681 (4th
 18   Cir. 1995)). Defendants’ burden is high because CERCLA sets no minimum
 19   contamination amount for liability. Lincoln Props. Ltd. v. Higgins, No. S-91-
 20   760DFL/GGH, 1993 WL 217429, at *19 (E.D. Cal. Jan. 21, 1993) (“There is no
 21   quantitative, or threshold concentration, requirement for releases of hazardous
 22   substances”). So, for Defendants to prevail at trial, they must therefore show that
 23   none of the lead in the PIA that DTSC investigated and/or cleaned up came from
 24   the Vernon Plant.
 25          Defendants likely will take the scientifically unfounded position—which
 26   their experts are unwilling to fully endorse—that lead emissions from the Vernon
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  1   Plant did not travel beyond one-half mile from the Plant. Plaintiffs will show that
  2   Defendants’ position is riddled with flaws including:
  3         •      Defendants ignore the significance of soil samples and air
  4                dispersion modeling that confirm the presence of lead from the
  5                Vernon Plant in soil extending at least 1.7 miles from the
  6                Vernon Plant.
  7         •      Defendants adopt inappropriate geostatistical methods in order
  8                to ignore a pattern of soil contamination that shows decreasing
  9                concentrations with increasing distance from the Vernon Plant,
 10                which is a hallmark of point source emissions.
 11         •      Defendants assert lead paint and other non-industrial sources of
 12                lead in the environment must be the major contributor to high
 13                lead soil concentrations. But this assertion ignores contrary
 14                expert testimony and the basic fact that the level of lead in PIA
 15                residential soils is significantly higher than other urban
 16                neighborhoods in the Los Angeles area. These other
 17                neighborhoods also would have been impacted by lead-based
 18                paint and other non-industrial sources, and therefore these
 19                sources do not explain why PIA soil lead levels are elevated.
 20         •      By pointing to non-smelter sources as the only contributors to
 21                lead in soil more than one-half mile from the Vernon Plant,
 22                Defendants ignore the unique characteristics that show lead in
 23                the PIA came from a lead smelter.
 24   Given the flaws in Defendants’ arguments, after the burden shifts to Defendants,
 25   they will be unable to show that no lead from the Vernon Plant reached the PIA
 26   areas where DTSC conducted response actions.
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  1                                    SCOPE OF TRIAL
  2   I.   ISSUES WITHIN THE SCOPE OF THE APRIL TRIAL.
  3         Plaintiffs bring this action under CERCLA and state law against Defendants
  4   seeking to recover response costs they incurred because of releases of hazardous
  5   substances from a former secondary smelter located at the Vernon Plant.
  6         The Court set the April trial “to determine the scope of the compensable
  7   cleanup area.” ECF No. 231 at 2. While the term “compensable cleanup area” is
  8   foreign to the CERCLA statute and case law, the Court explained that, for the
  9   purposes of the April trial, the Court is concerned only with determining the extent
 10   of the Vernon Plant’s contamination. It should be uncontested that the Vernon Plant
 11   released contaminants into the environment.
 12         At trial, Plaintiffs will prove that lead emissions released from the Vernon
 13   Plant traveled by air for a radius of at least 1.7 miles and were deposited on the soil
 14   at surrounding properties in the PIA, including homes, schools, parks, day care
 15   centers, and other sensitive land use properties. In doing so, Plaintiffs will have met
 16   their burden to demonstrate a “loose” nexus/plausible migration pathway; but, upon
 17   shifting the burden, Defendants will be unable to show that none of the lead in the
 18   PIA that DTSC cleaned up came from the Vernon Plant. Therefore, Plaintiffs will
 19   show that the “compensable cleanup area” encompasses the PIA.
 20         By carrying their burden of proving a “plausible migration pathway” to the
 21   PIA, and therefore resolving the “compensable cleanup area” issue, Plaintiffs will
 22   have proven several elements of Defendants’ liability under CERCLA and state
 23   law, including: (i) the Vernon Plant is a facility; (ii) releases or threatened releases
 24   of hazardous substances occurred from the Vernon Plant; (iii) DTSC took response
 25   actions and incurred response costs in the PIA; and (iv) the releases from the
 26   Vernon Plant caused DTSC to take response actions. See, e.g., Sterling Centrecorp
 27   Inc., 977 F.3d at 756 (citing Cose, 4 F.3d at 703–04).
 28
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                                                                           Plaintiffs’ Trial Brief
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  1   II.   ISSUES NOT WITHIN THE SCOPE OF THE APRIL TRIAL.
  2          The parties expressly agreed that the following issues will not be tried at the
  3   April trial: (1) whether any of the parties are “liable persons” under CERCLA
  4   Section 107, (2) the amount of Plaintiffs’ recoverable response costs, (3) whether
  5   Plaintiffs’ response actions were inconsistent with the National Contingency Plan,
  6   (4) contribution, divisibility, and third-party liability, and (5) any issues related to
  7   nuisance. ECF No. 263 at 3.
  8          Plaintiffs anticipate that Defendants nevertheless will attempt to raise issues
  9   expressly excluded from the April trial or irrelevant to the “compensable cleanup
 10   area” inquiry.
 11          First, Defendants may argue that the radius of the compensable cleanup area
 12   is not more than one-half mile because lead found beyond this point is
 13   indistinguishable from other anthropogenic sources. But this argument is not
 14   consistent with CERCLA. As noted in Section I of the Introduction above,
 15   Plaintiffs meet their burden of establishing a nexus between the Vernon Plant’s
 16   releases and DTSC’s response actions if they (a) identify the contaminant at a site,
 17   (b) identify the same (or perhaps a chemically similar) contaminant off-site, and (c)
 18   provide evidence of a plausible migration pathway by which the contaminant could
 19   have traveled from a site to the off-site locations. Castaic Lake Water Agency, 272
 20   F. Supp. 2d at 1065–66. Plaintiffs will show a plausible migration pathway, and
 21   Defendants cannot prove that all the lead found beyond one-half mile from the
 22   Plant came from other sources.
 23          Second, Defendants may argue that the amount of lead found within the PIA
 24   that originated from the Vernon Plant is minimal. But “nowhere in CERCLA is
 25   there any reference to a level of a release of hazardous substance necessary to
 26   trigger liability. . . . Indeed, the statute attaches liability upon the release of any
 27   quantity of hazardous substances.” Brookfield-N. Riverside Water Comm'n v.
 28
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  1   Martin Oil Mktg., Ltd., No. 90 C 5884, 1991 WL 24476, at *2 (N.D. Ill. Feb. 21,
  2   1991); see 42 U.S.C. § 9601(22) (“release” under CERCLA means “any” release);
  3   see also Cose, 4 F.3d at 708–09 (“Liability is imposed under CERCLA regardless
  4   of the concentration of the hazardous substances present in a defendant’s waste, as
  5   long as the contaminants are listed “‘hazardous substances’ . . . .”); United States v.
  6   W. Processing Co., 734 F. Supp. 930, 936 (W.D. Wash. 1990) (recognizing that the
  7   statutory definitions of “hazardous substance” and “release” contain no threshold
  8   quantity requirement). And “[o]nce a party is found to be liable under CERCLA,
  9   the party is jointly and severally liable . . . ‘regardless of that party’s relative fault.’”
 10   United States v. Cap. Tax Corp., 545 F.3d 525, 534 (7th Cir. 2008).7
 11          Third, Defendants may argue that lead contamination from the Vernon Plant
 12   is “divisible” from other sources of lead. However, divisibility is a defense to joint
 13   and several liability under CERCLA. This defense is typically raised after liability
 14   is established, and Defendants—not Plaintiffs—bear the burden of proof. See
 15   Burlington N. & Santa Fe Ry. Co. v. United States, 556 U.S. 599, 614–18 (2009);
 16   Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863, 871 (9th Cir. 2001)
 17   (“Once liability is established, the defendant may avoid joint and several liability by
 18   establishing that it caused only a divisible portion of the harm . . . .”). Because the
 19   parties agreed the April trial will not determine CERCLA liability,8 there can be no
 20          7
               Plaintiffs note that applying this case law would not risk an inequitable
 21   result. If Defendants believe their contribution to lead contamination in the PIA was
      minimal, they could—at a later phase—prove that third parties should share some
 22   or most of the costs. Indeed, Defendant NL Industries, Inc. filed a Third Party
 23   Complaint seeking contribution against over 60 third parties.
             8
 24           ECF No. 263 at 3 (Joint Rule 26(f) Report). On February 18, 2022,
      Defendants submitted a “clarification” to the Joint Rule 26(f) Report. ECF No. 310
 25   at 3. Defendants purported to draw a distinction between “individual divisibility
 26   arguments” (i.e., whether the lead contamination attributable to one Defendant is
      divisible from the lead contamination attributable to other defendants) and the issue
 27   of whether the “impact attributable to releases from the Vernon Plant is divisible or
                                                                             (continued…)
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  1   basis to divide the harm among defendants because the parties do not yet even
  2   know the universe of potentially liable parties. ECF No. 175 (order staying third-
  3   party deadlines); ECF No. 313 (Plaintiffs’ response to Defendants’ “clarification”
  4   to Joint Rule 26(f) Report, which explains this problem). And the existence of other
  5   sources is immaterial to the “compensable cleanup area”—as the Court has defined
  6   the term—because that area focuses on a single source: the Vernon Plant.
  7                                      DISCUSSION
  8   I.    THE RADIUS OF CONTAMINATION FROM THE VERNON PLANT EXTENDS
  9         AT LEAST 1.7 MILES – DEFENDANTS CANNOT MEET THEIR BURDEN TO
            SHOW OTHERWISE.
 10

 11         Plaintiffs’ burden is limited to showing a plausible migration pathway.
 12   Plaintiffs can and will show such pathway; Plaintiffs do not have to show Vernon
 13   Plant lead actually landed in the PIA. It is Defendants’ burden to show no lead from
 14   the Vernon Plant landed in the PIA. Defendants will not be able to meet that burden
 15   because Plaintiffs will demonstrate that the radius of contamination from the
 16   Vernon Plant—that is, the “compensable cleanup area”—extends to an area that
 17   includes at least the PIA.
 18         As this section will demonstrate, Plaintiffs will establish the requisite
 19   elements under CERCLA relevant for this April trial. First, the parties do not
 20   dispute that lead, a hazardous substance, see 40 C.F.R. § 302.4, tbl. 302.4, was
 21   released from the Vernon Plant. See also Cal. Code Regs., tit. 22, §§ 68400.5,
 22   69020-69022. Second, the parties do not dispute that DTSC took response actions
 23   in the PIA. Third, and important to the question the Court wants to resolve at this
 24

 25
      distinguishable from [other] lead sources.” Id. Plaintiffs responded to this
      “clarification” to explain why Defendants’ newly adopted position is contrary to the
 26   parties’ agreement, why adjudication of these divisibility issues is premature and
 27
      imprudent at this procedural juncture, and why these divisibility issues are
      inappropriate for the April trial. See generally ECF No. 313.
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  1   trial, Plaintiffs will demonstrate the requisite loose causal nexus between the
  2   releases and the response actions. By this showing, Plaintiffs will demonstrate the
  3   “compensable cleanup area.”
  4         A.      There were harmful releases and threatened releases of
  5                 hazardous substances from the Vernon Plant.
  6         As the Court stated at the status conference on March 28, 2022, it should be
  7   uncontested that, during the course of its operation, the Vernon Plant released
  8   hazardous substances. In any case, Plaintiffs will present evidence that the Vernon
  9   Plant released millions of pounds of lead into the air. The soil lead sampling results
 10   also provide indirect evidence of releases: soil lead concentrations in residential
 11   properties surrounding the Vernon Plant are substantially higher than in similar
 12   neighborhoods in the Los Angeles area. Most of the homes in the PIA have soil
 13   lead concentrations that exceed the residential California Human Health Screening
 14   Levels for lead in soil of 80 mg/kg. See Revised California Human Health
 15   Screening Levels for Lead,9 developed pursuant to Cal. Health & Safety Code
 16   § 57008. The releases from the Vernon Plant have impacted thousands of
 17   residential, commercial and industrial properties. Thousands of residents, including
 18   children, currently live in the affected communities in the PIA, and continue to be
 19   exposed to this contamination.
 20         It should be uncontested that lead contamination is toxic, even at low levels.
 21   Dr. Gettmann will testify that lead toxicity is cumulative and that lead exposure,
 22   through contaminated soils, causes a broad array of adverse health effects,
 23   especially in children. Lead permanently impairs neurological development and
 24   function, and lead causes sensory, motor, cognitive and behavioral harm in
 25   children, who are particularly vulnerable and sensitive to lead. Dr. Gettmann will
 26   testify that current research indicates lead toxicity does not have a known or
 27
            9
                Source: https://oehha.ca.gov/risk/soils091709.
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  1   discernable threshold, confirming that exposure to even the smallest amount should
  2   be prevented if possible.
  3         B.     Releases from the Vernon Plant reached surrounding
  4                communities at least 1.7 miles away.
  5         Plaintiffs’ expert, Dr. Allen J. Medine, will testify that hazardous substances
  6   released from the Vernon Plant were transported well beyond the Plant boundaries.
  7   Dr. Medine will testify, based on his analysis of wind directions and available air
  8   modeling done by Environ on behalf of the last owner/operator of the Vernon Plant,
  9   Exide Technologies, LLC, that air dispersion and deposition of lead emitted from
 10   the Vernon Plant is a plausible pathway for these hazardous pollutants to travel
 11   beyond the plant’s boundaries and to contaminate the soils across the PIA.
 12         Dr. Medine used statistical and geospatial techniques to analyze the pattern
 13   of lead concentrations in over 100,000 soil samples, taken at DTSC’s direction,
 14   within a few miles of the Vernon Plant. Based on the results of his analyses, Dr.
 15   Medine concluded that lead released from the Plant is a source of lead in soils
 16   within the PIA. Furthermore, he found that lead emitted from the Plant deposited
 17   onto soil beyond the PIA’s boundaries.
 18         Dr. Medine analyzed the pattern of lead concentrations in residential soils in
 19   the PIA. Dr. Medine determined the predominant wind directions using historical
 20   data from nearby meteorological stations. Then, Dr. Medine distinguished between
 21   soil samples taken in areas that are in the predominant and non-predominant wind
 22   directions. The results of this “directional analysis” showed that lead concentrations
 23   decreased with distance from the Vernon Plant in the predominant wind directions,
 24   indicating that the Plant was a dominant source of the lead contamination found in
 25   those samples. The concentration of lead found in soil samples did not start to level
 26   off until two to three miles from the Plant, where the lead levels were in the range
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  1   of 105 to 150 mg/kg. Even at that distance, the effects of the Vernon Plant on soil
  2   lead concentrations were still discernable.
  3         Plaintiffs’ expert Mr. Lyle Chinkin confirmed Dr. Medine’s conclusion that
  4   lead emissions from the Vernon Plant traveled at least 1.7 miles away by reviewing
  5   Environ’s air dispersion modeling for the Plant. Mr. Chinkin will testify that the
  6   modeling shows that it is plausible that the wind carried lead from the Vernon Plant
  7   1.7 miles or more and deposited lead in the PIA. Mr. Chinkin also relied on his
  8   understanding of the fate and transport of contaminants to support his view that
  9   lead particles emitted from the Vernon Plant would be carried several miles away.
 10         Dr. Medine bolstered his directional analysis with additional geospatial
 11   analyses, which show the same trend of decreasing concentrations as one moves
 12   away from the Vernon Plant in all directions. Dr. Medine’s additional analyses
 13   show that the lead concentration in the upper few inches of residential soil were
 14   greater than in the deeper soil, which also is consistent with aerial dispersion and
 15   surface deposition of lead.
 16         Dr. Medine compared the ratio of lead to antimony in samples in local
 17   residential and industrial areas, which the literature has shown to be a characteristic
 18   “fingerprint” of secondary lead smelter waste. He concluded that the lead-to-
 19   antimony ratios found in the residential and industrial areas were remarkably
 20   similar to the lead-to-antimony ratios near the Vernon Plant and also were within
 21   the reported values for other secondary lead smelters. This “ratios analysis” further
 22   supports Dr. Medine’s opinion that the Vernon Plant is the predominant source of
 23   lead in the soils in those residential areas in the PIA.
 24         Finally, Dr. Medine evaluated other potential sources of lead in the PIA to
 25   assess whether those sources, rather than the Vernon Plant, could explain the
 26   elevated lead levels within the 1.7-mile radius of the Vernon Plant.10 Dr. Medine
 27         10
                 As noted above, CERCLA does not require Plaintiffs to prove the Vernon
                                                                            (continued…)
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                                                15
                                                                           Plaintiffs’ Trial Brief
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  1   identified several studies of the background level of lead in the Vernon area – i.e.,
  2   the level of lead that would exist in the PIA if the Vernon Plant had never operated.
  3   He then determined that PIA soil concentrations were greater than the background
  4   level in each of those studies. Dr. Medine will testify that, because PIA soil lead
  5   concentrations are significantly higher than the background level, he is able to rule
  6   out lead-based paint, leaded gasoline, and other non-industrial sources as the cause
  7   of the PIA’s widespread elevated lead levels.
  8         Plaintiffs’ expert Dr. Singh, an environmental statistician, also evaluated the
  9   soil-lead concentrations in the PIA and compared them to established background
 10   levels. Her analysis confirmed that the lead levels are significantly above
 11   background across the PIA, including in the dripline areas impacted by lead-based
 12   paint, allowing her to opine that lead-based paint cannot explain the elevated levels
 13   of lead in the PIA.
 14         Dr. Medine’s determination that non-industrial sources did not cause the
 15   elevated soil lead levels in the PIA is buttressed by his review of published studies.
 16   These studies revealed that non-industrial sources, such as lead paint, leaded
 17   gasoline, and pesticides, are not capable of causing the significant levels of lead
 18   contamination found in the front and back yards of residential properties in the PIA.
 19   Rather, these studies indicated that contamination from non-industrial sources
 20   would not be widely dispersed, as would emissions from the tall smokestack of a
 21   lead smelter carried by wind. For example, contamination due to leaded gasoline
 22   would be limited to areas that are immediately adjacent to freeways and secondary
 23   highways. Elevations in residential soil concentrations attributable to lead paint
 24

 25

 26   Plant was the predominant source of lead in the PIA. Liability may be imposed
 27
      regardless of the concentration of the hazardous substances released. See, e.g.,
      Cose, 4 F.3d at 708–09.
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  1   typically would be confined to areas along the dripline of the home.11 Dr. Medine
  2   concluded that the pattern of soil contamination within the residential properties, as
  3   well as the magnitude of soil lead, are inconsistent with non-industrial sources and
  4   point instead to an area-wide source such as the Vernon Plant.12
  5         Plaintiffs’ experts will demonstrate that the lead particles emitted from the
  6   Vernon Plant’s buildings and stacks for ninety years did not stop at the Plant’s
  7   boundaries, nor did they stop at an arbitrary one-half mile distance away from the
  8   Plant. Instead, emitted lead traveled (in the air, via the wind) into the surrounding
  9   industrial and adjacent residential areas in the PIA and at least 1.7 miles. This
 10   phenomenon is not unique to the Vernon Plant. Well-documented investigations of
 11   lead smelters around the country have found widespread lead contamination caused
 12   by air emissions from those facilities, with a telltale pattern of higher concentrations
 13   of lead in the soil near the smelter, trending downward with distance away from the
 14   smelter. Essentially, the lead contamination in the PIA from the Vernon Plant fits
 15   an established pattern, consistent with other smelters and basic laws of physics.
 16          C.    Defendants’ experts cannot dispute that lead from the Vernon
 17                Plant reached soils in the PIA.
 18         Defendants’ experts Dr. Walter J. Shields, Dr. Shahrokh Rouhani, and Mr.
 19   Ranjit Machado will opine that emissions from the Vernon Plant did not
 20   contaminate the residential areas of the PIA, and that lead found in those areas is
 21   attributable primarily to lead-based paint. Plaintiffs’ experts, and the cross
 22   examination of Defendants’ experts, will expose the flaws in the defense experts’
 23   analysis, and demonstrate why Defendants cannot possibly show lead emitted by
 24

 25         11
              The dripline is the area immediately next to a building’s exterior walls
 26   where leaded paint dust and chips tend to land.

 27
             Essentially, Dr. Medine and Plaintiffs’ other experts independently confirm
            12

      DTSC’s preliminary findings dating back to 2015.
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  1   the Vernon Plant did not travel more than one-half mile. For example, Plaintiffs’
  2   expert Dr. Drexler “speciated” to a granular and microscopic level the lead particles
  3   from soil samples and concluded that particles of lead unique to smelter emissions
  4   (“pyrometallurgical” lead forms) are found in the soil samples taken at the Vernon
  5   Plant and in the PIA.
  6         Defendants’ expert Dr. Rouhani will opine that the trends of lead
  7   concentration as one moves away from the Vernon Plant show that the Plant did not
  8   contribute to contamination outside of a one-half mile radius. But Dr. Rouhani
  9   utilized a method, known as a variogram, that is not capable of identifying
 10   contamination from a point source (like the Vernon Plant) when there are multiple
 11   other sources of contamination present (like lead-based paint and leaded gasoline)
 12   as well as disturbances of the soil related to human activity.
 13         Unlike Dr. Medine and Dr. Singh, Dr. Shields did not perform a statistical or
 14   geospatial analysis of the pattern of lead contamination. Instead, Dr. Shields opines
 15   that the level of lead found in the PIA residential soils is consistent with the
 16   background level found in similar urban neighborhoods in metropolitan Los
 17   Angeles. Dr. Shields therefore concludes there is no reason to suspect there is an
 18   area-wide source of contamination in the PIA, since if there were such a source, he
 19   would expect the soil lead levels to be above the background level. But, Dr. Shields
 20   made a fatal mistake in performing his analysis—he used a background reference
 21   (the Waterstone study) that was limited to dripline samples reflective of the highest
 22   lead contribution from lead paint and then compared it to PIA soil concentrations
 23   that were based on front and back yard samples outside of the reach of the majority
 24   of any lead paint contamination. Dr. Shields thus compared apples (dripline
 25   samples targeting lead from lead paint) to oranges (yard samples reflecting little, if
 26   any, lead from paint). Once the proper apples-to-apples comparison is made (for
 27   example, dripline to dripline), as Dr. Singh did, then the data clearly demonstrate
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  1   that PIA soil lead concentrations are significantly higher than the corresponding
  2   background concentrations reported in the Waterstone study.
  3         Further, Dr. Shields relies on a flawed interpretation of the relationship
  4   between lead paint and soil lead levels to try and pin the blame for PIA soil
  5   contamination on lead-based paint. In response, Dr. Medine will establish that the
  6   purported relationship between lead-based paint and soil lead contamination is not
  7   nearly as strong as Dr. Shields suggests, and that the best predictor of soil lead
  8   concentration is home age rather than the presence of lead paint. Dr. Medine will
  9   explain that older homes generally have higher soil lead levels because these homes
 10   have had a longer time to accumulate lead from various sources of lead, including
 11   atmospheric dispersion from a nearby point source like the Vernon Plant.
 12         Dr. Medine also will testify that redevelopment of residential, parkland, and
 13   other properties results in soil disturbances that reset the soil lead levels by mixing
 14   and replacing surface soils. These disturbances give the impression that newer
 15   homes have lower soil lead concentrations, which in turn can obscure a pattern of
 16   contamination that would be more apparent if the redevelopment had never
 17   occurred. Defendants’ observation that soil lead levels are lower in more recent
 18   homes, regardless of the homes’ proximity to the Vernon Plant, does not account
 19   for the important role played by redevelopment in resetting the soil lead levels.
 20         Finally, defense expert Mr. Machado assails the use of air dispersion
 21   modeling as a predictor of lead emissions from the Vernon Plant. But Plaintiffs’
 22   expert, Mr. Chinkin, will testify that airborne concentrations calculated using air
 23   modeling (AERMOD) are a reliable indication of airborne deposition, and indicate
 24   that lead emitted by the Vernon Plant blanketed the entire PIA.
 25

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  1
            D.     DTSC took response actions throughout the PIA because of
                   airborne lead emissions from the Vernon Plant.
  2

  3         DTSC has undertaken one of the largest and most complex response actions
  4   in its history because of the releases and threatened releases from the Vernon Plant.
  5   DTSC has collected samples at over 10,000 properties throughout the PIA,
  6   overseen the cleanup of lead contaminated soil at over 3,000 residential properties
  7   in the PIA, and incurred many millions of dollars in costs. DTSC’s investigation
  8   and response actions are ongoing. While these facts should be undisputed, Plaintiffs
  9   will nevertheless prove them through the testimony of Peter Ruttan, a Senior
 10   Engineering Geologist for DTSC, who served as the department’s project manager
 11   and project manager supervisor for investigation, cleanup, and other activities13
 12   arising from the Vernon Plant.14
 13

 14

 15

 16

 17         13
              The term “response” action is defined in Section 101 of CERCLA as
 18   including “removal” actions. 42 U.S.C. § 9601(25). Correspondingly, the term
      “removal” is expressly defined in Section 101(23) of CERCLA, 42 U.S.C. §
 19   9601(23), as encompassing two types of activities authorized by law: (1) “the
 20   cleanup or removal of released hazardous substances from the environment” – i.e.,
      cleanup of contaminated soil – and (2) “such actions as may be necessary to
 21   monitor, assess, and evaluate the release or threat of release of hazardous
 22   substances” – i.e., investigation and sampling by DTSC, or others acting on
      DTSC’s behalf or according to DTSC’s orders.
 23         14
                The Parties already have agreed that any challenges to DTSC’s response
 24   actions will not be determined at the April trial, but reserved to a later stage of the
 25
      case. In the unlikely event the Court elects to entertain challenges to DTSC’s
      response actions, its review should be limited to DTSC’s administrative record,
 26   Cal. Dep’t of Toxic Substances Control v. Alco Pacific, 317 F. Supp. 2d 1188, 1193
 27
      (C.D. Cal. 2004), under an arbitrary and capricious standard of review, see, e.g.,
      United States v. Seymour Recycling Corp., 679 F. Supp. 859, 860-861 (1987).
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  1
      II.   PLAINTIFFS’ BURDEN UNDER CERCLA IS TO SHOW ONLY A “LOOSE”
            NEXUS BETWEEN RELEASES AND THREATENED RELEASES FROM THE
  2         VERNON PLANT AND THE INCURRENCE OF RESPONSE COSTS.
  3          CERCLA requires Plaintiffs to show “a release or threatened release” from
  4   the Vernon Plant “cause[d] the incurrence of response costs[,]” but this showing
  5   does not require “but for” or “proximate” causation. 42 U.S.C. § 9607(a)(4); see
  6   Pakootas v. Teck Cominco Metals, Ltd., 868 F. Supp. 2d 1106, 1110 (E.D. Wash.
  7   2012) (“CERCLA’s strict liability scheme precludes the need to prove causation in
  8   the traditional sense.”). Rather, and in contrast to traditional tort law, CERCLA
  9   only requires Plaintiffs to demonstrate a “loose” nexus between releases and
 10   response costs. See, e.g., Carson Harbor Vill., Ltd., 287 F. Supp. 2d at 1186 (“[T]he
 11   plaintiff need only prove that the defendant’s hazardous materials were deposited at
 12   the site, that there was a release at the site, and that the release caused it to incur
 13   response costs.”). Courts interpret this loose nexus to mean that plaintiffs need only
 14   show a “plausible migration pathway” of the contaminant between the source and
 15   cleanup site(s); that is, Plaintiffs are not required to “show that defendant’s waste
 16   was the source of the release or that defendant’s waste caused it to incur response
 17   costs.” Id.15
 18          15
                See also Asarco LLC v. Cemex, Inc., 21 F. Supp. 3d 784, 807 (W.D. Tex.
 19   2014) (“The Court concludes that CERCLA's goals are better served by the
 20   framework laid out by the Fourth Circuit in Westfarm,” which sets out the plausible
      migration pathway standard.); United States v. Bliss, 667 F. Supp. 1298, 1311 (E.D.
 21   Mo. 1987) (relaxed standard of causation furthers congressional goals); New York v.
 22   Shore Realty Corp., 759 F.2d 1032, 1043–44 (2d Cir. 1985) (finding Section
      9607(a) “unequivocally imposes strict liability on the current owner of a facility
 23   from which there is a release or threat of release, without regard to causation”);
 24   Castaic Lake Water Agency, 272 F. Supp. 2d at 1066 (plaintiff meets its burden by
      showing “plausible migration pathway by which the contaminant could have
 25   traveled from the defendant's facility to the plaintiff's site”); Westfarm Assocs. Ltd.
 26   Pshp. v. Wash. Suburban Sanitary Comm’n, 66 F.3d 669, 681 (4th Cir. 1995) (“The
      plaintiff must prove only that contaminants which were once in the custody of the
 27   defendant could have travelled onto the plaintiff's land, and that subsequent
                                                                                (continued…)
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                                                 21
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  1
           A.   Plaintiffs will establish the requisite nexus by demonstrating a
                plausible migration pathway of contaminants from the Vernon
  2             Plant.
  3         To show a “plausible migration pathway,” a plaintiff must identify: (1) a
  4   contaminant at the cleanup site; (2) the same, or perhaps chemically similar,
  5   contaminant at the defendant’s facility; and (3) evidence by which the contaminant
  6   could have traveled from the defendant’s facility to the cleanup site. Castaic Lake
  7   Water Agency, 272 F. Supp. 2d at 1067. In Castaic, the court found the migration
  8   pathway “plausible” based on a hydrogeology expert’s testimony that perchlorate
  9   detected in surface water runoff tests from areas in the southwest corner of the
 10   defendant’s site could travel through the site and enter the river upstream of
 11   plaintiff’s wells. Id. at 1067; see also Artesian Water Co. v. Gov’t of New Castle
 12   Cnty., 659 F. Supp. 1269, 1281 (D. Del. 1987) (plaintiffs offered several studies
 13   and analyses demonstrating that hazardous substances were present in the
 14   groundwater and in the sediment near the site).
 15         Asarco LLC v. Cemex, Inc., is instructive. There, the court concluded Asarco
 16   demonstrated “plausible” migration of arsenic from the plant’s cement kiln to the
 17   cleanup site based on testimony from Asarco’s air emissions expert that fugitive
 18   emissions of arsenic from the plant possibly could have traveled to the cleanup site
 19   and contaminated the soil. Id. at 797, 810. Importantly, the court found the
 20   migration “plausible” even though Cemex’s expert testified that they considered the
 21   soil levels of arsenic at the cleanup site to be within the range of natural
 22   background. Id. The court also found relevant that the plant and cleanup site were
 23   in proximity, the plant’s stack heights meant arsenic emissions settled in the
 24   surrounding areas, environmental site inspection reports contained warnings about
 25   fugitive arsenic emissions, and Asarco’s expert testified that it was scientifically
 26

 27
      contaminants (chemically similar to the contaminants once existing in defendant’s
      custody) on the plaintiff’s land caused the plaintiff to incur cleanup costs.”).
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                                                22
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  1   reasonable that the plant contributed to the contamination at the cleanup site via air
  2   emissions. Id. at 798–99, 810; cf. Cyprus Amax Minerals Co. v. TCI Pac.
  3   Commc’ns, Inc., No. 11-CV-0252-CVE-PJC, 2017 WL 2662195 (N.D. Okla. June
  4   20, 2017) (no plausible migration pathway where, inter alia, there was little
  5   evidence of hazardous substances dispersed via air emissions).16
  6         Plaintiffs’ evidence here is more than sufficient to show a “plausible”
  7   migration pathway. Plaintiffs’ experts, Dr. Medine and Mr. Chinkin, will testify it
  8   is plausible, if not certain, that lead from the Vernon Plant traveled via air
  9   dispersion to the entire PIA.
 10         For example, Dr. Medine will opine that the Vernon Plant released lead
 11   contaminants into the air from stack and fugitive emissions, and these contaminants
 12   traveled in the wind currents along the prevailing directions, and the lead emissions
 13   contaminated residential areas beyond the half-mile industrial area depositing in
 14   soils at least 1.7 miles away. Dr. Medine’s directional analysis of residential lead
 15
            16
 16             Some courts outside the Ninth Circuit have applied a strict standard that
      requires plaintiffs to show a defendant actually contributed to the contamination,
 17
      see, e.g., Kalamazoo River Study Grp. v. Rockwell Int’l Corp., 171 F.3d 1065, 1072
 18   (6th Cir. 1999), or even applying a substantial factor test, see, e.g., Thomas v. FAG
      Bearings Corp., 846 F. Supp. 1382, 1390 (W.D. Mo. 1994) (requiring proof that the
 19
      release was a “substantial factor” in the plaintiff’s incurrence of response costs
 20   where contamination was found outside the vicinity). But courts in the Ninth
      Circuit apply the “loose” nexus causation standard of “plausible migration
 21
      pathway,” which comports with and furthers the congressional goals imposed by
 22   CERCLA. See, e.g., Santa Clarita Valley Water Agency v. Whittaker Corp., No.
 23
      2:18-cv-06825-SB-RAOx, 2021 WL 2549066 (C.D. Cal. April 5, 2021); see also
      Cemex, 21 F. Supp. 3d at 807 (“The Court concludes that CERCLA’s goals are
 24   better served by the framework laid out by the Fourth Circuit in Westfarm
 25
      (plausible migration standard)); Bliss, 667 F. Supp. at 1311 (relaxed standard of
      causation furthers congressional goals); New York v. Shore Realty Corp., 759 F.2d
 26   1032, 1043–44 (2d Cir. 1985) (finding Section 9607(a) “unequivocally imposes
 27
      strict liability on the current owner of a facility from which there is a release or
      threat of release, without regard to causation”).
 28
                                                23
                                                                           Plaintiffs’ Trial Brief
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  1   concentrations in the predominant wind directions show a cognizable pattern of soil
  2   lead concentrations that decrease with distance from Vernon Plant. Dr. Medine will
  3   reference examples of other smelters where soil contamination from smelter
  4   emissions extended for several miles in predominant wind directions.
  5         Mr. Chinkin will testify that fundamental principles of physics establish that
  6   some of the lead particles released from the Vernon Plant will travel at least several
  7   miles before they are deposited on the ground. Mr. Chinkin also will use the results
  8   of air dispersion modeling to demonstrate the geographic extent of lead emissions
  9   from the Vernon Plant.
 10         B.     Defendants cannot meet their burden to disprove causation
 11                after Plaintiffs demonstrate a plausible migration pathway.
 12         Plaintiffs anticipate that Defendants will argue that Plaintiffs have not proved
 13   that releases from the Vernon Plant caused DTSC’s response actions. But once
 14   Plaintiffs demonstrate the requisite “loose” nexus by establishing a plausible
 15   migration pathway, the burden shifts to Defendants to disprove actual causation.
 16   Asarco LLC, 21 F. Supp. 3d at 805; see also Westfarm, 66 F.3d at 681 (“The
 17   plaintiff need not produce any evidence that the contaminants did flow onto [the
 18   cleanup site] from the defendant’s land. Rather, once plaintiff has proven a prima
 19   facie case, the burden of proof falls on the defendant to disprove causation.”);
 20   United States v. Monsanto Co., 858 F.2d 160, 170 (4th Cir. 1988) (“Congress has,
 21   therefore, allocated the burden of disproving causation to the defendant who
 22   profited from the generation and inexpensive disposal of hazardous waste.”). As
 23   discussed above, this is a burden Defendants cannot meet.
 24                                     CONCLUSION
 25         Based on the foregoing, Plaintiffs will establish the “compensable cleanup
 26   area” by showing there was a plausible migration pathway by which lead released
 27   from the Vernon Plant could have traveled to the PIA, and therefore such releases
 28
                                               24
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  1   caused DTSC to incur response costs. Defendants will not be able to disprove this
  2   causation because their expert opinions are deeply flawed and, in any event,
  3   Plaintiffs’ experts will show lead from the Vernon Plant actually traveled to the
  4   PIA. Having made this showing, Plaintiffs will have proven some of the elements
  5   of CERCLA and the HSAA liability, including that: (i) the Vernon Plant is a
  6   facility; (ii) releases or threatened releases of hazardous substances occurred from
  7   the Vernon Plant; (iii) DTSC took response actions and incurred response costs in
  8   the PIA; and (iv) the releases from the Vernon Plant caused DTSC to take said
  9   response actions and incur said costs.
 10
      Dated: April 12, 2022                         Respectfully submitted,
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 12
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